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                                    STATEMENT OF FACTS

        The affiant, Stephen D. Jones, is a Special Agent of the Federal Bureau of Investigation
assigned to Columbia Field Office on the Joint Terrorism Task Force (JTTF). In my duties as a
Special Agent, I am authorized by law to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Title 18 Federal criminal laws. Currently, I am tasked
with investigating criminal activity in and around the Capitol grounds on January 6, 2021.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On January 17, 2021, a tipster (Tipster #1) reported to the FBI that CHAD CLIFTON
“entered the White House.” Tipster #1 further stated that CLIFTON “works at the same place I
do in Charleston sc. He brags about what they did and has shown all of his coworkers videos and
pics. He sent me a pick when he was there. He is also tracked on gps app on his phone for work I
have the pics he sent to me on my work phone if you want them.”

        Your affiant interviewed Tipster #1. Tipster #1 knows CLIFTON through CLIFTON’s
former employment at Maintain, Inc., a property maintenance company located in Mount
Pleasant, S.C. Tipster #1 stated that CLIFTON told them and other co-workers at Maintain, Inc.
that he went inside the U.S. Capitol building, and sent a photograph showing himself inside the
U.S. Capitol building on January 6, 2021.




       Tipster #1 also provided a second photograph of a man identified as CLIFTON inside
what appears to be the U.S. Capitol building.
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       On January 18, 2021, the FBI received an anonymous tip from Tipster #2, reporting that
CLIFTON posted now-deleted videos on Facebook and TikTok showing himself at the January 6,
2021 riot at the U.S. Capitol. Tipster #2 identified CLIFTON’s phone number (ending in -4677)
and home address, and described the clothing that he wore on January 6, 2021, as: carrying a
“yellow book bag” and wearing “Jeans with maroon-colored shoes.” The tipster stated that
CLIFTON had “a blue pocket knife on his hip” and he was “wearing a grey mask and red maga hat
[and] Blue north face jacket.”

        Consistent with the information provided by Tipster #2, the FBI conducted a database
search and confirmed that CLIFTON’s cellular telephone number ended in -4677. The cellular
telephone number ending -4677 was cross-referenced against cellular tower records that were
obtained through a search warrant served on Facebook on January 6, 2021. Between
approximately 2:32 p.m. to 2:48 p.m., CLIFTON’s telephone number ending -4677, believed to
be utilized through the Facebook Messenger Application, was identified as having utilized a cell
site consistent with providing service to a geographic area that included the interior of the U.S.
Capitol building.

       On February 22, 2021, your affiant interviewed Witness #1, a person familiar with
CLIFTON. Witness #1 stated that CLIFTON told them he had traveled to Washington, D.C. in
January 2021 with his neighbor “DAVID.” Witness #1 also stated that he was in a TikTok video
picking up trash in Washington, D.C.

       On February 23, 2021, your affiant interviewed Witness #2 and Witness #3, employees of
Maintain, Inc. Both witnesses confirmed that on January 6, 2021, CLIFTON was employed by
Maintain, Inc. and did not work at any jobsites on that day.

        On February 23, 2021 and again on February 24, 2021, your affiant interviewed Witness
#4, a person familiar with CLIFTON. During that interview, Witness #4 provided several videos
to your affiant showing, according to Witness #4, CLIFTON and JOHNSTON both outside and
inside the U.S. Capitol building on January 6, 2021.

        In the first video that was posted on Facebook live on January 6, 2021, Witness #4
identified CLIFTON, who was the narrator of the video, as the white male wearing a red “Trump
2020 - Keep America Great” baseball hat, grey and black face covering, black rim glasses, green
hooded sweatshirt, grey jacket, and a backpack with black straps.
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        In the video, CLIFTON identifies a man walking alongside him as “Dave.” Witness #4
identified that person as CLIFTON’s neighbor “DAVE JOHNSTON.” In the video, JOHNSTON
was wearing metal rimmed glasses, a blue winter cap with white and red trim and embroidered
with a circular “45” logo and the word TRUMP, dark colored winter jacket with The North Face
logo on the front right chest, and yellow gloves.




     In the video, CLIFTON makes statements such as, “Look at where we are, look at where
we going” and “Exciting times are coming.”

        Witness #4 also provided to your affiant a copy of videos posted on TikTok from January
6, 2021. Witness #4 stated that the videos on TikTok “clearly” show CLIFTON—the white male
wearing a grey winter jacket, green hooded sweatshirt, dark colored face covering, red baseball
cap, black rimmed glasses, blue jeans, dark red shoes, and a yellow backpack with black straps—
and JOHNSTON walking through the interior of the U.S. Capitol building. One of the captions
states “Picking up trash inside the Capitol after two trash cans were tipped over” and another
states “And yes, this was moments after the storming of the Capitol.”
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        Witness #4 provided to your affiant another video posted on TikTok by user @48cadi.
As explained below, Witness #5 attested that @48cadi is CLIFTON’s TikTok account. The
video shows a uniformed Capitol Police Officer holding an expandable baton, and the caption
says: “Storming the capital building everybody’s going to come way more in DC today first
hand I was there.”




        The video also shows an individual walking in front of the camera wearing attire
consistent with that of JOHNSTON identified by Witness #4: a blue winter hat with red and
white trim, a circular “45” logo, and the word TRUMP; a black winter jacket with The North
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Face logo on the right rear shoulder; and a black and grey face covering.




        In the audio of the video, one can hear several comments spoken in voices similar to the
voices from the Facebook video.

        On February 24, 2021, your affiant interviewed Witness #5. Witness #5 reported that
CLIFTON traveled to Washington, D.C. on January 6, 2021 to attend the Trump rally with his
neighbor DAVE JOHNSTON. Witness #5 watched several videos that CLIFTON posted on
January 6, 2021 on Facebook live (with username: ChadClifton) and TikTok (with username:
48Cadi). Witness #5 stated that the Facebook live video showed CLIFTON and JOHNSTON
near the Washington monument and inside the U.S. Capitol building.

        The FBI conducted a database search and confirmed that JOHNSTON’s cellular
telephone number ended in -3600. The cellular telephone number ending -3600, having service
provided by Verizon Wireless, was cross-referenced against cellular tower records that were
obtained through a search warrant served on Verizon on January 6, 2021. Between
approximately 2:32 p.m. to 2:48 p.m., a Verizon cellular phone associated with the telephone
number ending -3600 was identified as having utilized a cell site consistent with providing
service to a geographic area that included the interior of the U.S. Capitol building.

        Additionally, your affiant obtained U.S. Capitol Police Closed Circuit Television (CCTV)
recordings from January 6, 2017. In a review of those recordings, your affiant identified
individuals, based on facial features and clothing, as described by the abovementioned witnesses,
believed to be CLIFTON and JOHNSTON inside the U.S. Capitol building. Your affiant also
identified JOHNSTON in the CCTV videos based on your affiant’s in-person observations of
JOHNSTON.
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                      Clifton              Johnston




     Clifton   Johnston
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                                               Johnston
                                Clifton




                                            Johnston
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                           Johnston
             Clifton

                                       Exit Point




       On August 3, 2021, the United States District Court for the District of Columbia issued a
search warrant, signed by the Honorable G. Michael Harvey, United States Magistrate Judge, for
records from CLIFTON’s Facebook account.

       Some of the relevant posts obtained from CLIFTON’s Facebook include:

       •   On 01/03/2021, User Chad Clifton states: This is Complete BS and it’s his own
           people. Nothing they said meant squat to him! This is the future you wanted? I don’t
           think so. See you in DC ❤🇺🇺🇺🇺Trump2020🇺🇺🇺🇺❤
       •   On 01/07/2021, conversation between Facebook User Chad Clifton and Facebook
           User Andy Balao. Andy Balao: U get lock up yet 😆😆. How bad is it. Be safe my friend
           Chad Clifton: I’m otw home now. We are good and no harm. Awesome
           day!!❤🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺�
       •   On 01/09/2021, conversation between Facebook User Chad Clifton and Facebook
           User Jewel Clifton. Chad Clifton: I’m telling you right now don’t say anything out
           loud that you don’t want somebody else to hear We are in a war and 95% of the
           people don’t even know it When I went to DC that was an experience of a lifetime.
           I’m sorry that I went inside a broken door where we could have potential he got in
           trouble but I was a patriot and I made sure that people didn’t destroy things and
           picked up trash and we respectful. The medium made it look like we were a bunch of
           demons destroying things in which we were not in anyway.

       Based on the foregoing, your affiant submits that there is probable cause to believe that
CHAD GORDON CLIFTON and DAVID CHARLES JOHNSTON violated 18 U.S.C.
§ 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any restricted
building or grounds without lawful authority to do; and (2) knowingly, and with intent to impede
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or disrupt the orderly conduct of Government business or official functions, engage in disorderly
or disruptive conduct in, or within such proximity to, any restricted building or grounds when, or
so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or
official functions or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a
“restricted building” includes a posted, cordoned off, or otherwise restricted area of a building or
grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that CHAD GORDON
CLIFTON and DAVID CHARLES JOHNSTON violated 40 U.S.C. § 5104(e)(2) (D) and (G),
which make it a crime to willfully and knowingly (D) utter loud, threatening, or abusive language,
or engage in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol
Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress
or either House of Congress, or the orderly conduct in that building of a hearing before, or any
deliberations of, a committee of Congress or either House of Congress; and (G) parade,
demonstrate, or picket in any of the Capitol Buildings.


                                                      Respectfully submitted,


                                                      _________________________________
                                                      Stephen D. Jones
                                                      Special Agent
                                                      Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 16th day of May, 2022.


                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE
